        Case 1:14-cv-00209-SPB Document 357 Filed 11/19/19 Page 1 of 1



    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                         No. 19-1963

                   Pennsylvania General Energy Co v. Grant Township

                            (U.S. District Court No.: 1-14-cv-00209)


                                           ORDER

       In accordance with the agreement of the parties in the above-captioned case, the
matter is hereby dismissed pursuant to Fed. R. App. P. 42(b), without cost to either
party. A certified copy of this order is issued in lieu of a formal mandate.



For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: November 19, 2019                          A True Copy:
SB/cc: James V. Corbelli, Esq.
Kevin J. Garber, Esq.
Karen L. Hoffmann, Esq.                          Patricia S. Dodszuweit, Clerk
Mr. Joshua Lewis,                                Certified Order Issued in Lieu of Mandate
Bethann R. Lloyd, Esq.
Lisa C. McManus, Esq.
